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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                         October 18, 2016
                            UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
v.                                               §           CRIMINAL ACTION H-16-99-5
                                                 §
                                                 §
JAMES DANIEL HENDERSON in custody                §

                             MEMORANDUM OPINION & ORDER

       Pending before the court is defendant James Daniel Henderson’s (“Henderson”) motion to

dismiss the indictment against him (Dkt. 91) and motion for severance (Dkt. 97). The government

has responded in opposition to both motions. Dkts. 104, 105. Having considered the motions,

responses, and applicable law, the court is of the opinion that defendant’s motions to dismiss (Dkt.

91) and for severance (Dkt. 97) should be DENIED.

                              I. MOTION TO DISMISS INDICTMENT

        Henderson is charged with violation of the Hobbs Act, 18 U.S.C. §§ 1951(a) and (2), for one

count of conspiracy to interfere with commerce by robbery, and with two counts for aiding and

abetting interference with commerce by robbery. Dkt. 1. He is also charged with two counts of

aiding and abetting using and carrying a firearm during and in relation to a crime of violence in

violation of §§ 924(c)(1)(A) and (2). Id. Henderson challenges the constitutionality of § 1951.

However, Henderson concedes that there is binding precedent against his position, and explains that

he makes this motion in order to preserve the record. Dkt. 91 at 12.

       The Fifth Circuit has held that the Hobbs Act’s prohibition against conspiracy to interfere

with commerce by robbery is valid under the federal Commerce Clause. United States v. Miles, 122

F.3d 235 (5th Cir. 1997); United States v. Robinson, 119 F.3d 1205, 1216 (5th Cir. 1997) (The
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Hobbs Act in no way exclude[s] prosecutions for single local robberies, so long as the requirement

of a nexus to interstate commerce is met.) (internal quotations omitted); see also United States v.

Smith, 182 F.3d 452, 456–57 (6th Cir. 1999); United States v. Paredes, 139 F.3d 840, 841 (11th Cir.

1998); United States v. Atcheson, 94 F.3d 1237, 1243 (9th Cir. 1996). This court is bound by the

determination of the Fifth Circuit that 18 U.S.C. § 1951 is constitutional. Accordingly, defendant’s

motion to dismiss the indictment is DENIED.

                                    II. MOTION FOR SEVERANCE

        Henderson moves to sever his trial from his co-defendants, or alternatively, have any

statements of his co-conspirators that directly or indirectly reference him. Bruton v. United States,

391 U.S. 123, 135–36, 88 S.Ct. 1620, 1627–28 (1968) (barring a co-defendant’s “powerfully

incriminating extrajudicial statements” at defendant’s trial). Rule 14 provides that the court may

sever the defendants’ trials if it appears that a defendant will be prejudiced by a joinder of defendants

for trial. Fed. R. Crim. P. 14. It is within the court’s discretion to grant a motion for severance upon

a finding of prejudice. Id.; Zafiro v. United States, 506 U.S. 534, 538–39, 113 S.Ct. 933, 938 (1993)

(“Rule 14 does not require severance even if prejudice is shown; rather, it leaves the tailoring of the

relief to be granted, if any, to the district court’s sound discretion.”); United States v. Winn, 948 F.2d

145, 161 (5th Cir. 1991).

        For a court to grant severance, a defendant must show a “specific and compelling prejudice”

would result at trial from joinder. United States v. Chagra, 754 F.2d 1186, 1188 (5th Cir. 1985).

Any potential prejudicial effect of joinder can often be cured through an appropriate limiting

instruction to the jury without severance. United States v. Turner, 674 F.3d 420, 429–30 (5th Cir.

2012); United States v. Mitchell, 484 F.3d 762, 775 (5th Cir. 2007). Finally, the possibility of
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prejudice must be balanced against the interest of judicial economy. United States v. Posada-Rios,

158 F.3d 832, 863 (5th Cir. 1998); United States v. Wolford, 614 F.2d 516, 518 (5th Cir. 1980).

        Henderson files this motion for severance on the basis that the admission into evidence of

inculpatory statements made by his co-defendants would violate his Confrontation Clause rights as

interpreted in Bruton, 391 U.S. 123, 88 S.Ct. 1620 and Crawford v. Washington, 541 U.S. 36, 124

S.Ct. 1354 (2004). Dkt. 97. Henderson also asserts that a joint trial risks “prejudicial spillover of

evidence” from co-defendants’ admissions, confessions, recorded statements, and accusations

regarding Henderson’s actions that were made to the Harris County Sheriff’s Department. Id.

        The government, however, asserts that pursuant to Federal Rule of Criminal Procedure 8, the

government is permitted to charge two or more defendants in the same indictment if “they are

alleged to have participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses.” Dkt. 105; Fed. R. Crim. P. 8(b); United States v.

Faulkner, 17 F.3d 745, 758 (5th Cir.); United States v. Bieganowski, 313 F.3d 264, 287 (“A spillover

effect, by itself, is an insufficient predicate for a motion to sever.”) (citing United States v. Williams,

809 F.2d 1072, 1085 (5th Cir. 1987).

        The government maintains that severance is not warranted because Bruton only applies to

statements that directly implicate the defendant or are incriminating “on its face.” Dkt. 105;

Richardson v. Marsh, 481 U.S. 200, 208, 107 S.Ct. 1702, 1707–08 (1987). And the government

argues that any Bruton concerns can be eliminated by “appropriate redaction and/or limiting the

testimony of law enforcement officers regarding co-conspirator statements who will not be

testifying.” Dkt. 105 at 1; Richardson, 481 U.S. at 211, 107 S.Ct. at 1709 (Bruton can be complied

with when “the confession is redacted to eliminate not only the defendant’s name, but any reference
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to his or her existence.”). Further, the government contends that at the time of its briefing, it is

uncertain who will proceed to trial and who will testify. Id. at 4.

        The court considers the Fifth Circuit’s suggestion that “separation of issues is not the usual

course that should be followed, and that the issue to be tried must be so distinct and separate from

the others that a trial of it alone may be had without injustice.” Ala. v. Blue Bird Body Co., Inc., 573

F.2d 309, 318 (5th Cir. 1978); see also Zafiro v. United States, 506 U.S. 534, 537, 113 S.Ct. 933,

937 (1993) (“There is a preference in the federal system for joint trials of defendants who are

indicted together.”). Henderson has not provided any evidence that his issues are distinct and

separate from his co-defendants, and the government maintains that appropriate redaction can

eliminate Bruton concerns. The court agrees with the government’s position that a limiting

instruction and proper redaction will address Henderson’ Bruton concerns. If the government is

unable to cure the Bruton issues by redaction and/or limiting the testimony of law enforcement

officers, the court will consider defendants’ alternative motions in limine at the time of trial.

Accordingly, Henderson’s motion for severance is DENIED.

                                          III. CONCLUSION

        Henderson’s motion to dismiss (Dkt. 91) and motion for severance (Dkt. 97) are DENIED.


        Signed at Houston, Texas on October 18, 2016.




                                                            Gray H. Miller
                                                      United States District Judge
